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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC

                 Defendant.


    GOVERNMENT’S MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       The United States of America respectfully moves for leave to file under seal a portion of

its opposition to defendant Concord Management and Consulting LLC’s motion for approval to

disclose discovery pursuant to the protective order (Dkt. No. 77). In connection with its motion,

Concord filed a sealed submission. Dkt. No. 77, at 19 (referencing sealed Exhibit B). The

government requests permission to file its response to that submission under seal for the same

reasons that justified the sealing of Concord’s filing.

                               Respectfully submitted,

ROBERT S. MUELLER, III                                       JESSIE K. LIU
Special Counsel                                              United States Attorney

By: /s/                                                      By: /s/
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           Case 1:18-cr-00032-DLF Document 96 Filed 01/30/19 Page 2 of 2




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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2019 I caused a copy of the foregoing motion

for leave to file partially under seal to be transmitted to Katherine Seikaly and Eric

Dubelier, counsel of record for Concord Management and Consulting LLC, via email and

first class mail.



                                                      By: /s/
                                                      Jonathan Kravis
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